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   claims of what had happened on April 28, 2015, which had led up to the "Petition for
   Warrant or Summons for Offender Under Supervision" (Document #88), then the
   "Warrant for Arrest of Supervised Release Violator" (Document #89), and then the
   "Warrant Returned Executed" on May 27, 2015 (Document #94). The witness' s name
   is none other than Kristy L. Burton, the United States Probation Officer ("USPO") for
   the Western District of Virginia, in the Danville division. Judge Thomas D. Schroeder,
   who had presided over that particular hearing, had only seen limited evidence from the
   Defendant that had filed concerning document filings which may have or could have
   proved perjury beyond a reasonable doubt by the key-witness Kristy L. Burton. Since
   the Defendant was in Jail during the whole Supervised Release Violation proceedings
   in 2015, no real evidence could even be presented at all which would have forced Judge
    Schroeder to possibly punish or call forth for an federal investigation into USPO
   Burton for perjury (as may be under 18 U.S.C. § 1621 or 18 U.S.C. § 1623) and punish
    or call forth for an federal investigation into AUSA Anand Prakash Ramaswamy
    and/or Edward R. Cameron for Subornation of Perjury (as may be under 18 U.S.C.
    §1622),and maybe even Obstruction of Justice under Title 18 U.S.C. § 1519 by false
    information being put in an document, record, or entry inside of a Federal
    Government agency. I am not a lawyer but I believe that the U.S. Attorney collectively
    and USPO Kristy L. Burton may both have committed federal crimes with the
    evidence I have in my possession and the truth that I and other witnesses am aware of.
2. I am Brian David Hill, also known as Brian D. Hill, and am the Plaintiff in the Federal
    civil case: Brian David Hill v. Executive Office for United States Attorneys et al., Civil
    Case No. 4:17-cv-00027, in the U.S. District Court for the Western District of Virginia
    in Danville. I tie my civil case with my criminal case as interlinked with my 2255
    motion as the civil case has over 400+ pages of filing which include newly discovered
    evidence in 2017 that could not have been discovered before my sentencing. I will also
    disclose evidence to the Court of what I could have filed but Eric David Placke had
    refused to present to the Court prior to my final sentencing. I file this Declaration type
    of Affidavit with the Court including my original signature as a sign of good faith and
    demonstrating factual evidence showing good cause for such action. I am INNOCENT
    of the charge in case: United States of America v. Brian David Hill, Case# 1:13-cr-435-

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   1, and in the U.S. District Court for the Middle District of North Carolina. Since my
   release from imprisonment, I have been continuously trying to prove my innocence but
   am being blocked by the Government as well as I have been blocked by John Scott
   Coalter. My due process was deprived forcing me into taking the guilty plea agreement
   under false pretenses, being misled by the Federal Public Defender office in
   Greensboro, North Carolina. I have Autism Spectrum Disorder(" ASD"), Obsessive
   Compulsive Disorder ("OCD"), Generalized Anxiety Disorder ("GAD"), and I have
   type 1 brittle diabetes ("diabetes mellitus" or "Type 1 diabetes"). I do not recognize the
   wrongful diagnosis of "delusional disorder" by Dr. Keith Hersh (See Document #23),
   since Placke had presented no evidence to prove any of my claims to Dr. Keith Hersh
   during my psycbosexual evaluation in 2014, and I was not given an opportunity to
   review over my entire discovery evidence (that was acquired by Eric David Placke
   pertinent to pretrial discovery) prior to my false guilty plea on June 10, 2014. I had
   finally been able to review over the entire discovery evidence material on January 22,
   2015 at John Scott Coalter's ("Mr. Coalter" or "Mr. Coalter's") office. However on
   that same day (Jan. 22, 2015) I and my family bad no tools available at Mr. Coalter's
   office to play the confession audio CD with my family. Till this day my family had still
   not been able to review over the confession audio and neither were we given an
   opportunity to inspect the audio on an audio editing program like Audacity or any
   other sound wave editor or music editor to determine if the audio was altered to cover
   up what happened during the interrogation of myself on August 29, 2012.
3. This is also another element I believe which supports my claim of actual
   innocence, because the AUSA Ramaswamy bolstered the prosecution for
   the Supervised Release Violation hearing with a witness that had made a
   clear and convincing false statement or false statements under Oath before
   the U.S. District Court, which is a Federal Court, and such false
   statements were made in Federal case files concerning the Supervised
    release of Brian David Hill, which is myself. The Assistant U.S. Attorney
   Ramaswamy and the U.S. District Court (for each filing that was filed by
   the Clerk's office) had been warned in writing prior to the SRV hearing
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   on June 30, 2015, by myself as the criminal Defendant accused of violating
   my conditions of Supervised Release as stated in Document #88. The
   warnings I had made in writing, which of course the AUSA Ramaswamy
   receives a copy of via Notice of Electronic Filing ("NEF") under CM/ECF
   system, and I knew that when I was mailing documents to the Court when
   I was in Jail and at home that the AUSA was being electronically served
   by the Clerk's office via NEF. So the AUSA and the Court were warned
   with my Pro Se filed Declarations of facts I had raised, prior to being able
   to gather any real evidence after being released from Jail to being placed
   on Home Detention, that I knew USPO Kristy L. Burton had made false
   statements under Oath and/or to another Officer which may include but
   not limited to a Probation Officer, and/or that she had made a false
   material fact or facts upon the Court which helped led up to my Arrest.
4. In the Document #97 "NOTICE OF DETERIORATING HEALTH", I had written a
   letter to the Court giving them notice of my health deteriorating, stating on record that
   "I guess I will receive more medical neglect type mistreatment just for trying to prove my
   innocence. My medical needs were not taken care of last time I was in jail but now it
   appears that it will happen again.,, I also said"/ am a victim of these human rights
   abuses which are used to coerce false guilty pleas.,, Further excerpt from Document #97,
   " You can'tjust let people suffer in the County Jails. Even in jail I won't shut my mouth
   up because we have a first Amendment right to speak out about the abuses going on in the
   county jails being used in coercing defendants to falselv plead guiltv. The only time I will
   ever shut my mouth up is when my conviction is overturned. I didn't violate Probation
   because I followed her (Kristy Burton) every order. She allowed me to text message for
   months. When she told me to not text message anybody anymore. I followed her orders.
   Text messages are NOT the same as the internet and email clients/servers. Texting just
   goes from one cell phone to another. The Probation violation charge appears to be
   harassment for my grandma sending a letter to my P.O., the ChiefProbation Officer
   Philip Williams, and others. I believe the violation charge is RETALIATIONfor my faxes

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   and letters to Congress and others, and for my family writing critical letters. P.S. My
   arrest didn't stop my complaints to the Judiciary committees, mom will send them".
5. In the Document #98 "DECLARATION ON PROBATION ISSUE", I bad written a
   letter to the Court, stating on record that " ...which I feel is retaliation for my written
   complaints on faxes and letters, and for my Pro Se filings. On I think the day was April 28
   or 29, 2015, my PO showed up out of the blue telling me that Judge Osteen called her and
   it was over my few text messages to Judge Osteen and over my filing with the Clerk of
   Court via SMSIMMS at least I assume that is what happened. She told me that day not to
   text message anybody anymore, even though she knew I was texting the month before,
   and anytime I get a questionable text message that I voluntarily turn it over to my PO to
   comply with my conditions." (Citing Susan Basko's statement from Document #46 that
   what I did would be compliant with Title 18 U.S.C. § 2252A(d) Affirmative Defense
   which stated in one section that "reported the matter to a law enforcement agency and
   afforded that agency access to each such image". The U.S. Probation Office is
   technically a law enforcement agency and/or has law enforcement powers for
   supervising). Furthermore I stated in that declaration that "That day I complied with
   her orders but threw a small fit because I was getting angry so I tried to leave the room
   but she ordered me not to leave the room. She doesn't understand my mental health issues
   and she doesn't understand that text messaging and online email are two totally seperate
   things. Email uses internet but text messaging SMSIMMS are simular to faxes but both
   do not give internet access to the end user. When you hit send the message goes from the
   cell phone to the cell phone company through the provider's SMSIMMS gateway number,
   with no internet usage from the end user. I also asked former N.C. State Representative
   Glen Bradley and he disagreed with Judge Osteen 's opinion on MMS claiming that it uses
   online services. I have no intent on violating Probation and texting does not use the
   internet for the end user of a cell phone. Go ahead and subpoena my family Osteen, and
   get the whole story. Roberta Hill my mother, my grandparents Stella and Kenneth
   Forinash, and even Glen Bradley, call every one of them up to the stand for my hearing
   before you wrongfully imprison me. My small fit didn't even harm her at all and she acted
   childesh over mv small fit bv walking out saving she is done. I apoligized to her on her
    voicemail and in my fax to her. Faxes DO NOT use internet SMSIMMS do not give


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    internet access to the end user of cell phones. I feel that it almost seems like this new
    charge is to shut me Up and silence me to scare me into not overturning mv conviction
    and to scare me from filing complaints out of fear of retaliation. I declare under penalty
    ofperjury that the foregoing is true and correct."
6. That statement where Kristy L. Burton saying to me on April 28, 2015, "I am done"
    ("saving she is done"), and walks out of the home like she was upset with me and
    frustrated was what really happened at the end of her visit on April 28, 2015. She
    never acted scared and she never indicated to me and my family that was present that
    was she fearing for her safety. She and the Court misconstrued my Autistic behavior as
    a threatening gesture in Judge Schroeder's ruling, then forced me to go to Sex
    Offender Group Counseling when the whole incident was NOT EVEN SEXUAL, and I
    never done anything sexual to anybody in my life. I never molested anybody and I
    never raped anybody. The whole Court punished me over my Autism and allowed
    Kristy L. Burton to lie on the stand which is perjury. That is why I am filing this
    Declaration, to set the records straight, hope that the Court will punish USPO Burton
    for perjury, AUSA Ramaswamy and Edward Cameron with subornation of perjury or
    even Obstruction of Justice, and they should all be thrown in prison for breaking the
    law and making any false statements under penalty of perjury. So she was acting
    childish, she didn't appear to have accepted my apology back in 2015 and didn't offer
    to let me negotiate peaceably with her about changing mental health Counselors
    because Piedmont Community Services was treating me like some horrible sex
    criminal and lectured me about proving my innocence, and I got super angry and
    verbally upset every visit to the Counsel Kristen Patterson, and had started to hate her.
    This even led me to having more arguments and me getting angry around my family
    because the Counselor Kristen Patterson was making my behavior worse instead of
    better. I felt she had treated me like I was a criminal, like I was some horrible criminal
    and should accept responsibility as if I was really guilty and none of the evidence
    mattered concerning my innocence. That was because the crooked U.S. Attorney
    AUSA Ramaswamy doesn't want me to prove my innocence, wants to represent a false
    character straw-man image of me in front of the Court, deprive me of all due process,
     deprive me of effective Counsel, deprive me of appropriate medical care, and destroy

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my life. Placke didn't even let me see my entire discovery so I had plead guilty without
ever reviewing over all discovery pages. That was why I had made confusing
statements in earlier Pro Se filings with the Court in regards to a "State crime lab
report" when in reality there was no State Crime Lab report. So I was making
assumptions and believing lies prior to my false guilty plea because Eric David Placke
never even gave me a shot at winning my case and never went over all pages of my
discovery as he claimed he would do. I had a good reason that I would feel angry at
Kristen Patterson for lecturing me how guilty she acted like I was. USPO Burton also
tried to weasel her way into talking with my Counselor and that was when she started
acting more judgmental towards me making me want to kill myself and write a
suicidal note, and made me even more at the time wanted to commit suicide. After that
I had wondered and had speculation if there is any remote possibility of whether or not
Kristy Burton had ever gone through child abuse decades ago which was why she had
treated me like I was garbage on the side of the road and didn't care that I had wanted
to prove my innocence. So now the Court knows why I had stopped seeing the
Counselor and has pushed for seeing Preston Page another mental health Counselor,
because I was starting to hate Kristen Patterson, anger filling me up every time I spoke
with her because she kept lecturing me not to think that the cops were doing anything
wrong and acted like I was guilty, telling me not to look into the details of my case
when cops check and details for every criminal investigation case. I felt like I had to
bring documents with me every time to prove to Kristen Patterson that she is wrong
and I am innocent. So I was lectured about not to prove my innocence and to just
accept being a Sex Offender for a crime that I was framed on. I bad planned with my
family in April to May 2015 to switch to Preston Page to be my next Counselor and
warn him that the awful nasty woman Kristy L. Burton may try to talk him into bating
me and treating me like I am guilty too, but she demanded that I go back to Piedmont
Community Services and not be allowed to switch Counselors when Kristen Patterson
was making me more angry, hateful, that I had even thought about suicide and hate
which can lead to things such as Nazism and pure hate. Yes I admit at one point that I
had lost hope and thought about suicide almost every day that I was on Supervised
Release in earlier 2015, that I had started feeling enough bate to want to become a

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political dictator to oppress my Oppressors by becoming a dictator, but my e.ood
nature and my e.ood heart kept telling me not to become like my oppressors. I kept
with my good heart despite the horrible feelings and torment I had felt every day since
the Mayodan Police raid and my arrest. I felt like Obama wrecked America and used
racism (race card) to bring corruption and criminals into the entire U.S. Justice
Department and U.S. FBI by playing the (false) Messiah and the hundreds of photos!
had personally saw of U.S. President Barack Obama being compared to Jesus Christ. I
even saw Obama Messiah pictures and photos of Obama's face plastered onto Jesus
Christ artwork type photos. My hateful thoughts of wanting to become a dictator of the
United States made me feel ashamed and angry that I had felt this horrible hate and it
started to tear my good nature apart because Kristy Burton kept badgering me as if I
was the worst person on the planet for trying to prove my innocence. I felt like racism
and the New World Order social engineering led to my wrongful conviction and being
set up, because the child porn set ups in my opinion didn't happen as bad under
George W. Bush, but under Obama the child porn witch-hunts and even censorship
seem to have escalated meaning more innocent people will be sacrificed to John Walsh
and his war on pedophiles. I felt that they don' t care if innocent people that committed
no crime was convicted along with the guilty, I had felt this anger and tense stress that
was tearing me apart till I wanted to die. I have never been so much into hate until I
had been wrongfully convicted, and as months had gone by being counseled by Preston
Page, my hate started to slowly go away. My situation got better when I was assigned a
new USPO. Again, all I had ever cared about was proving my innocence. When I was
assigned a new Probation Officer Jason McMurray, he had acted more professional,
acknowledged that he knew I was trying to have my conviction overturned,
acknowledged that he believes I am innocent, especially since I had presented a pile of
evidence papers to Radford Counseling Sex Offender Group counseling session in
Martinsville, VA, and I had demonstrated to them that I am innocent, had ineffective
Counsel so severe that I couldn't be allowed to prove my innocence because I was
misrepresented, gave a false confession due to threats and/or coercion. Then
Supervisory USPO Edward R. Cameron (Document #124) acted as though I had
violated my Probation for simply declaring my innocence and my intent to prove my

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actual innocence, what a horrible person Edward Cameron is. I shouldn't have felt
hate for my bad situation because he was the one trying to make me suffer here along
with Eric Placke, the town of Mayodan, the U.S. Attorney Office, and John Scott
Coalter who also acted as if I were guilty, and Cameron should have went to prison for
subornation of perjury, for presenting a false material fact to the Court under
Document #88. If USPO Jason McMurray had not defended my stance of my actual
innocence by allowin2 me to leave Radford Counseling for answering their questions
with my actual innocence claims, if I had been forced once aeain to falsely admit to
guilt, I likely would have committed suicide and written on the suicide note that the
Court will not let me prove my actual innocence so I bad to die for my innocence as I
am sacrificed to John Walsh's witch bunt for what happened to bis son Adam Walsh.
However, thanks to USPO McMurray, and later thanks to Donald John Trump, I am
still alive and kicking, and ready to overturn my wrongful conviction, to prove my
actual innocence. Edward R. Cameron is horrible person that didn't care that I bad
always wanted to prove my innocence and that at one time I bad almost cut my neck
with a kitchen knife on December, 2013, all because of this horrible crap. Those people
are cold as Nazis. They don't care how many innocent people they wrongfully convict
and force to get Sex Offender Treatment type Nazi programs. It feels like a Nazi
program to me when they force an innocent person to plead guilty and then be forced
to join a Sex Offender Treatment Program. It is like forcing an innocent person to
admit to guilty which forfeits their right to prove actual innocence. I felt like the SOTP
programs are a Nazi type program when it forces an innocent person to admit to guilt
for a crime that they did not do then forcefully medicate them. Almost like Hitler
convicted me instead of a Court by the Federal Prosecutor, demanding that I tell the
world that I like to molest children when that is a lie. I AM SICK OF IT. I believe
Congress needs to abolish the mandatory Sex Offender Treatment Programs if they do
not allow innocent people accused of sex crimes to prove actual innocence. I am only
human here, and my Constitutional rights should matter to me and the Criminal
Justice System. I shouldn't feel hate and I shouldn't feel like wanting to become a
political dictator to feel not oppressed. It made me feel like I was a horrible person just
for thinking thoughts like that. I need to not feel hate, misrepresented, and feel like

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   garbage all because I was framed with child porn. The Habeas Court should give me
   every opportunity of proving my actual innocence, and not block me like what
   happened with being appointed Eric David Placke as counsel. I want to prove my
   innocence, I want my life back, and I want to move on with my life and not be in a
   perpetual state of fear and hatred. Thanks to USPO McMurray and Counselor Preston
   Page, my hate is almost completely gone, and the more I prove my innocence the more
   I am feeling whole again instead of feeling like a slave every day. I am telling the
   Habeas Court my feelings in this paragraph because I am a person, my feelings matter,
   and proving my innocence isn't just my Constitutional right but is my salvation from
   the nightmare of my wrongful conviction. They need to know that denying a criminal
   Defendant a right to prove innocence is cruel and unusual punishment especially when
   it is a sex offense allegation. It is emotional and it can mentally damage somebody to be
   falsely accused of a sex crime and then not being allowed to prove actual innocence at
   all, it can damage somebody mentally. It almost damaged me completely but I survived
   the horrors of hell of the Sex Offender registry. Imagine a virgin and yet a sex offender
   for a possession crime that I was framed on.
7. In the Document #100 "MOTION FOR CASE DISMISSAL", I had written a letter to
   the Court stating on record that "The Defendant files a MOTION with the Honorable
   Court to dismiss the "Petition for Warrant of Summons for Offender Under Supervision"
   as unfounded since such a basis for requesting revocation is with lies or false statements,
   a disregard (or the truth, and is meant to cause distress to the Defendant." Also stated
   that "A Declaration is attached to this MOTION in support of, and is evidenced for the
   Probable Cause hearing. In addition to the testimony in Declaration by the Defendant, he
   also compels this Court and the U.S. Marshals to bring forth witnesses in support of this
   MOTION and for the Probable Cause hearing." In Document #101, "DECLARATION
   by BRIAN DAVID HILL re: 100 Motion for Case Dismissal. (Attachments: # 1
   Envelope)(Daniel, J) (Entered: 06/02/2015)", it said that "I, Brian D. Hill, on May 28,
   2015, discovered lies or false statements in PROB 12C Petition for Warrant ofSummons
   for Offender Under Supervision (Filed April 29, 2015). First lie I discovered right off the
    bat was that I was allegedly accused of ''failed to follow her instructions." The truth is her
    order/instructions was different then what she claimed on record for the summons. The

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Court shall be told the true story of what happened before the Probable Cause hearing
before The Honorable Magistrate Judge Elizabeth Peake. She claimed she "visited Mr.
Hill's residence to address his sending numerous documents to the Court to be filed in his
case. The U.S. District Court Clerk's Office had directed Mr. Hill to cease this behavior,
however he had not complied. " That is a lie and untruthful statement. I misred the first
phone call attempt from the Clerk, then when I called the clerk's office she informed me
to only file via U.S. mailing and I agreed not to file documents using my cell phone's
MMS. Only time I contacted the clerks office after that was to correct a misfiling or filing
issue from my mailing and Joy Daniels agreed to correct her mistakes. She had this totally
mixed up. When she told me to stop sending documents electronically via Multimedia
messaging, I told her I agree and was understanding as the clerk will not accept any
filings from me from cell phone MMS so doing such has no benefit. I am still permitted to
file through mailings. What Burton is not even reporting was that I got upset after she
told me in front ofmy family members Roberta, Stella, and Kenneth a different kind of
order, that isn't even a condition on court record. She told me I can no longer text
message anybody, not even my private lawyer Cynthia Everson while shes working on the
2255 Motion for my case. She told me I can still mail and make phone calls but not text
message anybody even though I committed no crime with SMSIMMS text messaging. Also
Probation had originally mandated Radford Counseling as required by the court, NOT
Piedmont Community Services as I privately decided to get counseling under my Medicaid
for a counselor from Piedmont. She forced herself into my private counseling. My
counselor Kristen Patterson was not helping me at all and took the government's side
(bias) so I attempted to seek a new mental health counselor to help me with the mental
abuse and anguish caused by the Government. Kristy was controlling what mental
counselor I could see at Medicaid's expense. Burton is also aware that I have proof,
written/typed Proof of my confession statements on Aug 29, 2012 were false, then I
learned from Radford counseling that my PO sent them a copy of my typed paper proving
my 2012 confession in Mayodan PD to be false. She also did not mention about me being
very apologetic. I sent her a fax and left two voicemails apologizing for cussing at her,
then told her that I will no longer text message anybody anymore as she ordered and told
her I will follow her orders, and that what happened will never happen again, I promise.

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   My mother using rbhil/67@J'ahoo.com emailed Kristy also apologizing. Then my grandma
   typed up a letter to Ms. Burton and showed her proof of my Medicaid waiver then sent
   copies to Piedmont Community Services, Chief PO Philip Williams, and one to my private
   lawyer Cynthia Everson. Burton even approved of my faxed "Request to Travel" for
    visiting my granddad Mercer and step-grandma Kay Mann from Snow Camp, NC. I recall
   my mother emailing her about traveling on her birthday in May, and she APPROVED it. I
   also visited Piedmont Comm. Services to attend my appointment with the counselor on I
   think around May 20, 2015. Counselor Kristen Patterson can verify that I been attending
    counseling including in May. Kristen didn't seem too pleased either that Burton is forcing
    me to go there and medaling with their affairs. Burton's orders and actions are
    encroaching beyond just my terms and conditions ofsupervised release. Also my blood
    sugar was high at the time of the incident, and I was about to do my Novo Log insulin
    shot, but she showed up out ofthe blue. I got my insulin after she left."
8. There were other filings such as Documents #104, #105, #106, #108, and others. I had
    tried to warn the U.S. District Court and had also warned the U.S. Attorney Office by
    my filing of multitudes of Pro Se filings prior to the SRV hearing on June 30, 2015.
    That proves that I had warned the Court that USPO Burton was going to lie about a
    material fact in my case. Warning the Court that a witness from the Government was
    going to lie about something which may be perjury, then the Government presents that
    witness anyways is yet further proof that the U.S. Attorney office would lie about me in
    an instant to bolster their prosecution and prove their weak case against me. Under
    Document #111-1, which was a complaint to the U.S. Department of Justice, also
    declared under penalty of perjury, stated that "Why would I be mandated to attend my
    private counselor when I was already required to attend radford Counseling? Because she
    knew that I was wrongfully convicted and attempted to overturn my conviction (Appeal
    15-4057, 4th Circuit) so she attempted to protect the U.S. Attorney's wrongful and
    malicious prosecution when I am Innocent of the charge. (2.)USPO Burton claimed that
    "The U.S. District Court Clerk's Office had directed Mr. Hill to cease this behavior,
    however he had not complied. " She was referring to the sending of documents to the
    Court through my Cellular Phone using Multimedia Messaging Service (MMS)(See Doc
    #87). I agreed with the Clerk to stop filing documents with my Cell Phone but I still have

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   the right to file documents through U.S. Postal Service mailings. Burton lied on material
   fact since the Clerk directed me to file documents properly which I had agreed to already
   before I even saw USPO Burton on April 28, 2015. I even agreed with USPO Burton that
   I wouldn't send text messages with the court. Then she told me outside of my Release
   conditions that I cannot text message my friends nor my lawyer. I was told that I cannot
   text message anybody anymore. I DID comply with her order not to text message anybody
   anymore. My mother sent a text through my phone to Stewart Rhodes of OathKeepers.org,
   however I still sent no text message since USPO Burton ordered me so. I complied with
   the Clerk's Office, I complied with USPO Burton's orders not to text the court and not to
   text message anybody. (3.)USPO Burton claimed that I am a danger to the community yet
    she approved of my faxed "Request to Travel" in May 2015 to visit granded James Mercer
    and Kay Mann in Snow Camp, NC for my Mother's birthday."
9. The Court has clear and convincing evidence that I had warned both the U.S. District
    Court and the U.S. Attorney (due to each filing being served by the Clerk with the
    Government via CM/ECF system, Notice of Electronic Filing), and even went as far as
    writing a letter to Office of The Inspector General, U.S. Department of Justice, located
    at "950 Pennsylvania Ave., NW, Washington DC 20510." I will now show Exhibits
    proving that Kristy L. Burton lied about a material fact or had a disregard for the
    truth, and the U.S. Attorney presented such witness to bolster their prosecution against
    me for the Supervised Release Violation hearing. They were willing to have a witness to
    lie on the stand in open Court which is PERJURY and may also be OBSTRUCTION
    OF JUSTICE. She had technically broken the law in Federal Court and I will prove it
    in the Middle District of North Carolina as I further show actual innocence. The
    Government has no need to lie and present my false confession as if it were a genuine
    confession, if I were actually guilty. The Government does not need to present false
    information to the Court if I were actually guilty since they would already have the
    evidence of guilt to support such prosecution. When they prosecute an innocent person,
    they could lie and present false evidence. USPO Burton being allowed to lie in Federal
    Court, at an open court hearing, on June 30, 2015, shows that the U.S. Attorney was/is
    willing to allow perjury and bolster perjury for winning their case against me. THE
    FACTUAL INNOCENCE MATTER for this Declaration in support of my 2255

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    motion and brief, is that this element shows that the Government will use lies, that they
    are okay with perjury if it helps them win their prosecution of the case ae;ainst me and
    make me look e;uilty deservine; of punishment.
10. I agree to EXPAND THE RECORD if the Court requests that I file any further
    evidence with the Court to further prove my claims in this Declaration.
11. Attached hereto as Exhibit 1, is a true and correct copy of an Audio CD disc containing
    an audio phone call recording between me and the Federal Court Clerk's office in
    Greensboro, North Carolina, and the recording was made on July 29, 2015. A 1-page
    "NOTICE OF FILING PAPER OR PHYSICAL MATERIALS WITH THE CLERK"
    is also included to make a documented reference of such Audio disc for filing with the
    Clerk. Then a 3-page "Certified Phone Call Transcript" is a typed Transcript of that
    very audio recording inside the disc which proves that such recording was made. The
    Transcript allows the general public and all P ACER/CM/ECF accounts or makes a
    written request to the Clerk for a copy of such record to read what was said in the
    audio recording. The phone recording proves that the Deputy Clerk Joy Daniel, that
    had issued the (See Document #78) "Letter to BRIAN DAVID HILL regarding proper
    filing of court documents. (Daniel, J) (Entered: 04/24/2015)", didn't direct the call to
    Kristy Burton as USPO Burton had claimed in her statements to the Court. I said to
    her that "Okay cause you know I just wanted to hear from uh you that you know cause
    um cause somebody (referring to United States Probation Officer Kristy Burton without
    mentioning her name) claimed I didn't comply with the Clerk's Office request." She said
    earlier in that call recording that "Well that directive didn't come from me, that came
    from the Judge." She didn't say anything in the call about contacting my Probation
    Officer, but instead said that it was directed from the Judge, not directed from the
    Deputy Clerk. Phone call recording is completely legal under 18 U.S.C. § 2511(2)(d)
    that under a one-party consent law, you can record a phone call or conversation so
    long as you are a party to the conversation. North Carolina's wiretapping law is a one-
     party consent law according to N.C. General Statute§ 15A-287. Virginia is also a one-
     party consent state to record telephone calls according to Virginia Code§ 19.2-62. The
     whole conversation shows that she did not contact Kristy Burton otherwise she would



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    have brought that up. This conversation proves that USPO burton did lie about that.
    The total number of pages for this Exhibit is 4 pages total and 1-audio-disc total.
12. Attached hereto as Exhibit 2, is a true and correct copy of a letter that I bad received
    from Hubert J. Alvarez, Program Administrator, Program Oversight Branch, of the
    Probation and Pretrial Services Office (PPSO), dated July 14, 2015. The copy of this
    letter filed was excerpted from my VentaFax Log Book for all of my fax records. The
    image scan of the letter is from the original letter from the PPSO of the Administrative
    Office of the United States Courts, but I do not know where the original envelope/letter
    is at this time so the copy is all I've got as of right now. I marked it as a COPY and
    signed my name on the letter as dated November 30, 2017 for the purpose of this filing.
    This proves that the Administrative Office of the U.S. Courts did consider investigating
    Kristy L. Burton for the allegations of lying in Court which is perjury and is
    misconduct. The total number of pages for this Exhibit is 1 page total.
13. Attached hereto as Exhibit 3, is a true and correct copy of the (Part 1) 3-page fax
    transmission from 276-632-2599 to (434) 793-7968 concerning "I understand. I will
    follow your orders and I will not cuss at you. I know your just following orders like
    with the military. You have to enforce the corruption of the ... " VentaFax reported to
    have sent the fax transmission around date: 4/28/2015 at the Time: 5:57:13 PM, and
    that is based on the computer's time clock so it can be authenticated by cross
    referencing the old telephone record of the provider at the time the fax transmission
    was sent. The time could be a little off since the Desktop does not use the internet at all
    and the FAX was locally transmitted via phone line, so it is not synchronized with the
    Windows time clock server. After the Fax Cover Page, It contains 2-page "LETTER
    TO U.S. PROBATION OFFICER KRISTY BURTON". Part 2 contains: a true and
    correct copy of the 2-page fax transmission from 276-632-2599 to (434) 793-7968
    concerning a second "LETTER TO U.S. PROBATION OFFICER KRISTY
    BURTON", dated by VentaFax reported to have been sent around date: 5/2/2015 at the
    Time: 3:56:42 PM. No Fax Cover Page, It contains the second 2-page "LETTER TO
     U.S. PROBATION OFFICER KRISTY BURTON". There are two transmission tickets
     included. The total number of pages for this Exhibit is 7 pages total.



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14. Attached hereto as Exhibit 4, is a true and correct reconstructed copy of my "Response
    to Clerk of the Court", that is of my MMS message from the cell phone I had used to
    the Clerk's office letting her know that I will be compliant with the Clerk's office
    request. Stated that "I understand what you are saying. I will file no more through your
   general clerk email. All/uture filings will be through U.S. mailing or hand delivery.
    However I'm sure it will be okay if I make a request for you then. I ask that you submit
    my MOTION on the computer forensic examination to the assignment ofJudge William
    L. Osteen Jr. as soon as possible so he can rule on it. Thanks for filing Doc #76 and I am
    grate/ul that you allowed that and I understand I have to follow proper filing procedures
    and rules. I am Innocent and never should have been convicted so I am trying to seek
    Justice/or the injustices done to me by the public defender office." It proves that I did
    contact the Clerk' s office through MMS text message dated "Sunday, April 26, 2015 or
    April 25, or 24" that I did say in writing or text message texting that I will comply with
    the Clerk in regards to their letter concerning proper filing with the Court.
    Declaration Executed on August 12, 2015. Signed on November 29, 2017 for purpose of
    this filing. The total number of pages for this Exhibit is 1 page total.
15. Attached hereto as Exhibit 5, is a true and correct copy of a typed up note from witness
    Stella Forinash, in regards to what really had happened on April 28, 2015 at about
    12:15 pm, in regards to USPO Kristy L. Burton visiting me over the few issues. This
    witness statement is not signed but the witness is willing to make a signed Affidavit of
    the same information in this typed note that is being filed with the Court, if the Court
    so requires. The total number of pages for this Exhibit is 1 page total.
16. Attached hereto as Exhibit 6, is a true and correct copy of the 6-page fax transmission
    from 276-632-2599 to (202) 502-4099 concerning "LETTER AND SMALL PORTION
    OF TRANSCRIPT TO PROBATION OVERSIGHT BRANCH OF THE
    ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS" VeotaFax
    reported to have sent the fax transmission around date: 8/22/2015 at the Time: 3 :38:58
    AM, and that is based on the computer's time clock so it can be authenticated by cross
    referencing the old telephone record of the provider at the time the fax transmission
    was sent. The time could be a little off since the Desktop does not use the internet at all
    and the FAX was locally transmitted via phone line, so it is not synchronized with the

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    Windows time clock server. After the Fax Cover Page, It contains 2-page "LETTER
    AND SMALL PORTION OF TRANSCRIPT TO PROBATION OVERSIGHT
    BRANCH OF THE ADMINISTRATIVE OFFICE OF THE UNITED STATES
    COURTS". There are one transmission ticket included, a 2-page letter directed to
    Hubert J. Alvarez, Probation Administrator, Program Oversight Branch, of the
    Probation and Pretrial Services Office (PPSO), in the Administrative Office of the
    United States Courts. It was CC'ed faxed to Attorney Renorda Pryor. The pages
    attached to the 2-page letter are of the first page (Doc #123, Page l of 84), 2nd page
    (Doc #123, Page 2 of 84), 27th page (Doc #123, Page 27 of 84), and 84th (Doc #123, Page
    84 of84) page of the June 30, 2015, 2:47 p.m. "TRANSCRIPT OF THE SUPERVISED
    RELEASE VIOLATION HEARING BEFORE THE HONORABLE THOMAS D.
    SCHROEDER UNITED STATES DISTRICT JUDGE" The total number of pages for
    this Exhibit is 7 pages total.
17. Attached hereto as Exhibit 7, is a true and correct copy of a printout of a 1-page email
    to my mother Roberta Hill from USPO Kristy L. Burton approving of my Request to
    Travel for May 14, 2015. Email dated around Wednesday, May 13, 2015 7:31 AM. This
    copy of that email printout was stored in Defendant's VentaFax Log Book pertaining
    to a FAX or FAXES that I, Brian David Hill, had sent to the U.S. Federal Bureau of
    Investigation in my complaint against Kristy L. Burton back in 2015. Roberta Hill
    disseminated the printout of that email which she received from USPO Burton after
    she realized that it was evidence which would further prove USPO Burton to being a
    liar in my case. The total number of pages for this Exhibit is 1 pages total.

    I have filed all seven Exhibits proving my claim that USPO Burton had made false
statements about her claims in regards to the following:

               1. Document #123, Page 9 of 84, Anand Prakash RamaswamY. direct
                   examined their key-witness at the SRV hearing on June 30, 2015, the
                   conversation went like this, first with AUSA Ramaswamy saying "Q. Did
                  you know that anything was being sent to the ECFfiling system through a
                   TracFone?" USPO Burton: "A. I was made aware of that, yes, by the clerk
                   and the U.S. Marshal Mr. Moore that documents were being filed from the

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        TracFone." The LIE by USPO Burton (See Exhibit 1 and Exhibit 5) was
        that the order came from the JUDGE, not from the Deputy Clerk as the
        phone call recording and her responses reveal. She had lied about where
        she got her order from under OATH, under PENALTY OF PERJURY.
        The order came from the JUDGE, AND THE Clerk issued the letter
        under Document #78 "regarding proper filing of court documents" and
        said nothing about demanding that Defendant not file ANY documents
        with the Court at all.
     2. Document #123, Page 9 to 10 of84, Anand Prakash Ramaswamy direct
        examined their key-witness at the SRV hearing on June 30, 2015, the
        conversation continued on with USPO Burton saying that "I stood by the
        door and was talking to Mr. Hill originally about the text messaging. I
        brought - I said there were some issues that we need to discuss, and we
        spoke about the document texting to the Court, and I had been in(ormed bv
        the Court- or the clerk's office that they had told him to stop, but he had
        not stopped at that point. So I was directing him to cease that behavior. He
        indicated - he got verv upset and indicated that he had already stopped that
        behavior. He received a letter from the clerk's office, and he was no longer
        doing that and started pacing and hit a couple ofthings off the nearby
        tables onto the ground." That is another LIE by USPO Burton. My last
        text message was indicating that I will follow their rules and be compliant
        with their rules (See Exhibit 4) stating in that Exhibit that "I understand
        what you are saying. I will file no more through vour general clerk email.
        Al/future filings will be through U.S. mailing or hand deliverv." So I bad
        already offered to comply days before USPO Burton even showed up. It
        seemed more likely that Judge William Lindsey Osteen Junior was angry
        about my declarations of anything to do with facts of my actual innocence
        and/or false guilty plea because be was already PARTIAL towards my
        guilt and he probably believed that Eric David Placke was the best lawyer
        I could ever have and thought I was guilty. Because that Judge was
        partial in violation of the U.S. Constitution, be didn't wanted me to

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        declare my innocence prior to filing a valid Title 28 § 2255 motion. I did
        follow Judge Schroeder's advice of only filing something well-grounded
        in law but I am well grounding my 2255 motion in factual evidence basis
        with a ton of evidence Exhibits, as well as statute and/or case law. Osteen
        was biased in favor of ineffective Counsel Placke and he thought I was
        guilty as sin so I can see why he would retaliate against me and I feel
        sorry for him because the evidence can prove my actual innocence by
        proving my confession to be false and that child pornography had
        downloaded for 11 months while in law enforcement custody. Who would
        want to believe my innocence on that?
     3. Document #123, Page 9 to 10 of 84, Anand Prakash Ramaswamy direct
        examined their key-witness at the SRV hearing on June 30, 2015, the
        conversation continued on with USPO Burton saying that "And at that
        point, I said, you know, I will leave, and we can meet at the probation office
        to finish the discussion; and he said, no, I will be okay, I'm okay, or
        something to that effect, and I was, like, all right. I let him take a second
        and he stopped, and we continued the discussion about the documents and
        sending multimedia messaging. He was upset again. And we addressed in
        that conversation as well his need to go to an appointment with a
        psychiatrist through Piedmont Community Services, which he had canceled,
        and he told me that he didn't need that." First of all I was already referred
        to Radford Counseling in Roanoke, VA for my
        (Nazi/Gestapo/Soviet/Communist style) programing Sex Offender
        treatment for a crime that I did not commit and I was honest with them
        when I told them I was innocent. USPO Burton didn't like the fact I was
        declaring my innocence, over and over again, and told Radford
        Counseling that I am working on the 2255 through Attorney Cynthia
        Everson which later turned out to be a disappointment when she didn't
        do anything effective for years. That was why my 2255 Motion was
        greatly delayed, due to relying on a private lawyer that did not do much
        or nothing to accomplish my actual innocence work. All she did was acted

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        like something was going to start but she had wasted my precious time
        and shot past the 1-year 2255 statute of limitations and she didn ' t even
        start the process of my computer being forensically examined by an
        independent expert due to issues. She couldn't even find the information
        of where my seized Laptop was stored at the N.C. State Bureau of
        Investigation. She was a great disappointment.
     4. (cont.)USPO Burton misrepresented the way she said it. I told her after
        she told me that the Judge called her, she looked freaked out in front of
        me and my family, she told me that I needed to stop text messaging the
        Court, and I told her that I agree. Then she told me that I couldn't text
        message anybody anymore, not my friends, not my lawyer, nobody, and
        that was when I started freaking out and getting upset, then I tried to
        leave so that I wouldn't have a meltdown in front of her. Judge Schroeder
        was IN THE WRONG for claiming that I had threatened Kristy Burton
        because I tried to leave so that I wouldn't have the meltdown in front of
        her. USPO Burton ESCALATED THE SITUATION. She WAS
        ALREADY FREAKED OUT BY Jude,e Osteen calling her or talking to
        her which violates the ex-parte communication situations of the Uniform
        Code of Professional Conduct that Federal Judges are not supposed to be
        engaging in Ex Parte communication type of conduct in regards to a
        criminal case if I am correct about that, if I am right about that unless I
        am somehow wrong since I am not a lawyer. She didn't understand that I
        was looking for a new mental health Counselor and she had forced
        herself into my private counseling choices which of course made me feel
         like I wanted to be a dictator (theoretical government dictator) so that I
         could no longer be oppressed by the Government. I didn' t have a
         Counselor like Preston Page which made me feel like a decent human
         being instead of feeling like an oppressed slave false sex offender criminal
         which made me feel hate and anger every single day of my life at that
         time. Counseling is supposed to make you feel better, not worse. I am not



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        guilty and felt like a slave due to being appointed Eric David Placke that
        acted like a prosecuting Attorney.
     5. Document #123, Page 27 of 84, Attorney Renorda Pryor cross examined
        AUSA Anand Prakash Ramaswamy's key-witness at the SRV hearing on
        June 30, 2015, the conversation went like this, first with Renorda Pryor
        "Q. Okay. And so let's talk about April 28th. I believe you said you went to
        his home to advise him about sending documents to the Court per judge's
        order?" USPO Burton: "A. No. It was not per judge's order that I went to
        the home. I was contacted bv the clerk's of/ice and the marshals and was
        told that he was sending documentation electronically via MMS, multimedia
        messaging, and that thev had directed him to stop doing that, but he had not
        done that. That's what I was there to address." That is a load of
        B*LLSH*T your Honor. Pardon my French and I will not verbally
        mention that word in Court, but this is a complete and total LIE. Again
        Exhibit 4, reveals that my last MMS message to the Clerk's office stated
        that I will follow their proper filing procedures that I will comply. My
        message under that Exhibit 4 stated that "I understand I have to
        follow proper filing procedures and rules." So I had already said
        in MMS text message to the Clerk's office that I will comply. What is
        wrong with the Probation Officer to lie this openly like she thinks I'm a
        moron from planet moron?
     6. Document #88, Page 5 of 5, further false information was submitted in a
        Federal case document by the Supervisory U.S. Probation Officer
        Edward R. Cameron, was documented as stating that "Mr. Hill does not
        appear to be a suitable candidate for voluntary surrender or release at a
        detention hearing as he is seen as a danger to the community." Exhibit 7,
        proves that USPO Burton had sent an email to Roberta Hill notifying her
        that USPO Burton had permitted Brian David Hill's "Request to Travel"
         for May 14, 2015 in Snow Camp, North Carolina. She had approved of
         that request to travel, as the email documented that she written the
         approval of such request to travel on May 13, 2015. Approximately 23 or

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        24 days after USPO Burton stated to Supervisory USPO Edward R.
        Cameron that Brian is somehow a danger to the community, she
        approves of a trip to go to Snow Camp, North Carolina. People who are
        usually a danger to society should have been
        detained/imprisoned/incarcerated immediately. USPO Burton pulled a
        stunt similar to the Town of Mayodan Police Department, where they
        made Brian David Hill feel that he weren't going to be arrested but
        secretly already had an Arrest Warrant for Brian David Hill of this case
        and had planned to have me arrested on Friday the thirteenth (13th)
        symbolizing the same biblical historical day as the death or persecution of
        the Knights Templars. So yes she approved of a request to travel out-of-
        state which she considered to be okay for a "danger to the community", a
        horrible violent non-compliant extremist type of Probation Violator
        person that she acted like I was in this criminal case. Yeah I was
        compliant enough to apologize to USPO Burton and went to see
        Counselor Kristen Patterson on May 20, 2015. I was compliant enough to
        want to challenge her peaceably on my ability to text message my lawyer,
        my friends, you name it. Sarcasm: I was considered such a horrible
        danger to the community that USPO found it acceptable to approve of my
        request to travel out-of-state to Snow Camp, North Carolina, where I
        could have done anything as I must be such a scary guy that needed U.S.
        Deputy Marshals to come into my home while I'm taking a shower, point
        a Taser at me, and arrest me for false statements by USPO Burton. It is
        contradictory and a lie in a Federal Probation document filed with the
        Court to say that I am a danger to the community and yet a month later
        shed approve of my Request to Travel form for a day-trip to Snow Camp,
        North Carolina. People that are a danger to society don't get day-trip
        approvals as they may harm somebody. What USPO Burton and Edward
        R. Cameron had stated in 2015, was either perjury, subornation of
        perjury, and/or outright lies and deception in Federal case files. Putting
        false information and false testimony inside of Federal case files and

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        investigation files may be an Obstruction of Justice under Title 18 U.S.C.
        § 1519 pertaining to "makes a false entry in any record, document, or
        tangible object with an intent impede, obstruct, or influence the
        investigation or proper administration of any matter ... " since the
        Supervisory USPO Cameron intended to have this contradictory and/or
        possibly false information inside of a federal court document with an
        intent to influence the Court to deprive me of all of my Constitutional
        rights under the adversarial system to prove my actual innocence to
        overturn my criminal conviction via a Section 2255 motion under Writ of
        Habeas Corpus. Calling me a danger to the community and yet allowing
        me to travel out of state which meant if my mother had needed to go to a
        gas station, I could go there and buy whatever snacks and drinks that I
        had wanted, and such a danger to the community should not be freely
        traveling at all if that were even remotely true. So USPO Burton had lied
        about me being a danger to the community. I had apologized to her via
        FAX and phone call voicemails. She knew that I was willing to follow my
        conditions of Supervised Release. She is a liar and the U.S. Attorney knew
        she had lied in Federal Court about certain material facts or things. She
        is a perjurer and/or has obstructed justice by making a false entry or
        persuading Supervisor USPO Cameron to provide an entry with false
        information inside of a Federal Probation document or record with an
        intent to deprive me under the color of law of my right or privilege to
        prove my actual innocence, and investigate my wrongful conviction so
        that I wouldn' t feel suicidal enou2h to end my life. Ifl had been entirely
        blocked from proving my innocence, I would have committed suicide
        without hesitation. However I do have hope of either prevailing in this
        2255 Motion or asking U.S. President Donald John Trump for a
        presidential pardon of Innocence. USPO Burton and USPO Cameron
        should both be investigated and possibly charged by a special counsel or
        by the newly confirmed and appointed U.S. Attorney Matthew G.T.
        Martin.

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       So Defendant in this case which is myself, Brian David Hill, has proven to the Court
that USPO Kristy L. Burton had lied under Oath about the Clerk contacting her when me
and Roberta Hill, Stella Forinash, and Kenneth Forinash all knew that she had been
contacted by the Federal Judge William Lindsey Osteen Junior, in regards to my texted
filings and/or texting with the Court. Because it may have violated the Uniform Code of
Professional Conduct for a Judge to be involved in Ex Parte communication with my
Probation Officer, Judge Osteen or USPO Burton had to cover up the truth by instead hat
USPO Burton had to be making out as though the Clerk had contacted her about my
filings instead of the Judge when that wasn't the truth. Regardless, the FACT of the matter
for my 2255 motion is that the U.S. Attorney clearly was okay with USPO Burton lying on
the stand which is perjury, the Court and the opposing Counsel were warned by my Pro Se
filings with the Clerk while I was in Forsyth County Detention Center about USPO Burton
lying about certain things. She lied to Edward R. Cameron which made a filing containing
a false material fact which is subornation of perjury.

If I am wrong here the Court can tell me that, but I don ' t see how I am wrong here. I don't
know how she would not have committed perjury here. The Judge gave the order, Kristy
Burton told me in front of my family that the Judge contacted her. However she told the
Court on June 30, 2015, that the Clerk contacted her about the filings. There are two
different stories here but I do not feel that USPO Burton had told the truth. If I am wrong
then the Judge can explain to me how I am wrong somehow, but I feel she had still lied
under Oath, on the stand, which is technical perjury.

For the U.S. Attorney to have been warned by me that she was going to lie about that, is
subornation of perjury, and should be proof to the Court that the U.S. Attorney was going
to be oaky with presenting false testimony on Court record. If they did this for the
Supervised Release Violation hearing, then they clearly could have done this at the Jury
trial had I not taken the guilty plea falsely? I bet a million dollars that AUSA Ramaswamy
would have thrown the book at me and put liars on the stand in open Court had I not taken
that plea agreement.




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I have the evidence and there was more evidence I have but I feel I don't have the time nor
do I have unlimited resources to present more evidence than what I am presenting in this
Declaration. Kristy L. Burton is a liar, to my family she is a liar. She lied in open Court and
we are willing to prove that, me and all of my family witnesses.

Anand Prakash Ramaswamy is okay with presenting a liar on the stand. If she is willing to
lie about me in open Court then the U.S. Attorney is highly likely willing to put any liar on
the stand in open Court for anything, Jury Trial, evidentiary hearings. That is dangerous
to an INNOCENT MAN wanting to prove his innocence in open Court.

I recommend to the Habeas Court that every word, every action, and every claim by the
U.S. Attorney be scrutinized and highly questionable at this phase in my criminal case.

I declare under penalty of perjury that the foregoing is true and correct.
                                                             Respectfully submitted,

                Executed on:                                                  M·f
                                                                        IJ"
    Decem6er J_,I 2JL7
                                                                                   Signed
                                                                   Brian D. Hill (Pro Se)
                                                           310 Forest Street, Apartment 2
                                                                  Martinsville, VA 24112
                                                                 Phone #: (276) 790-3505

                                                                      ~ir4'M•]
This FIFTH DECLARACTION respectfully filed with the Court, this the 1st day of
December, 2017.

Defendant also requests with the Court that a copy of this FIFTH Declaration be served upon

the Government as stated in 28 U.S.C. §191S(d), that "The officers of the court shall issue and

serve all process, and perform all duties in such cases. Witnesses shall attend as in other

cases, and the same remedies shall be available as are provided for by law in other cases.

Plaintiff requests that copies be served with the U.S. Attorney office of Greensboro, NC and

AUSA Anand Prakash Ramaswamy via CM/ECF Notice of Electronic Filing ("NEF") email, by

facsimile if the Government consents, or upon U.S. Mail. Thank You!


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